                    Case 18-30913               Doc 1        Filed 08/30/18 Entered 08/30/18 15:27:39                              Desc Main
                                                               Document     Page 1 of 17
Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Christopher
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        David
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Polk
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Chris Polk
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4675
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Christopher David Polk                                                                     Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1651 Lighthouse Circle
                                 Greensboro, GA 30642
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Greene
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Christopher David Polk                                                                        Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Middle District of
                                              District    Georgia                       When     5/17/17                Case number      17-30577
                                                          Middle District of
                                              District    Georgia                       When     11/28/16               Case number      16-31255
                                              District    See Attachment                When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Christopher David Polk                                                                         Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Christopher David Polk                                                                     Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Christopher David Polk                                                                        Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Christopher David Polk
                                 Christopher David Polk                                            Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     August 30, 2018                                   Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Christopher David Polk                                                                         Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Wesley J. Boyer                                                Date         August 30, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Wesley J. Boyer
                                Printed name

                                Boyer Terry LLC
                                Firm name

                                348 Cotton Avenue, Suite 200
                                Macon, GA 31201
                                Number, Street, City, State & ZIP Code

                                Contact phone     (478) 742-6481                             Email address         Wes@BoyerTerry.com
                                073126 GA
                                Bar number & State




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Debtor 1         Christopher David Polk                                                             Case number (if known)


Fill in this information to identify your case:

Debtor 1               Christopher David Polk
                       First Name                 Middle Name             Last Name

Debtor 2
(Spouse if, filing)    First Name                 Middle Name             Last Name


United States Bankruptcy Court for the:    MIDDLE DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



                                                     FORM 101. VOLUNTARY PETITION
                                                   Prior Bankruptcy Cases Filed Attachment

District                                                             Case Number                         Date Filed
Middle District of Georgia                                           17-30577                            5/17/17
Middle District of Georgia                                           16-31255                            11/28/16
Northern District of Georgia                                         11-62204                            4/22/11




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                             page 8
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 Fill in this information to identify your case:

 Debtor 1                     Christopher David Polk
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                 amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                Unsecured claim
 1                                                                   What is the nature of the claim?              2015 Chevrolet Tahoe         $ $33,642.00
              Ally Financial
              200 Renaissance Center                                 As of the date you file, the claim is: Check all that apply
              Detroit, MI 48243                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                 $ $58,642.00
                                                                                    Value of security:                               - $ $25,000.00
              Contact phone                                                         Unsecured claim                                    $ $33,642.00


 2                                                                   What is the nature of the claim?              accounting fees              $ $3,300.00
              Anthony Mauriello
              Maurielle Enterprise                                   As of the date you file, the claim is: Check all that apply
              16 Driggs Street                                               Contingent
              Staten Island, NY 10308                                        Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 1

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 Debtor 1          Christopher David Polk                                                           Case number (if known)

            Contact phone                                                           Unsecured claim                                    $


 3                                                                   What is the nature of the claim?              credit card                  $ $1,757.00
            CCS/Bryant State Bank
            500 E. 60th Street, North                                As of the date you file, the claim is: Check all that apply
            Sioux Falls, SD 57104                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              credit card                  $ $1,321.00
            CCS/Bryant State Bank
            500 E. 60th Street, North                                As of the date you file, the claim is: Check all that apply
            Sioux Falls, SD 57104                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?                                           $ $90,000.00
            Colonial Funding Network, Inc.
            Servicing Provider for                                   As of the date you file, the claim is: Check all that apply
            c/o Jennifer Bolland                                             Contingent
            1501 Broadway, Suite 1515                                         Unliquidated
            New York, NY 10036                                                Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              credit card                  $ $2,319.00
            Credit One Bank, NA
            PO Box 98875                                             As of the date you file, the claim is: Check all that apply
            Las Vegas, NV 89193                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 2

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 Debtor 1          Christopher David Polk                                                           Case number (if known)

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              credit card                  $ $818.00
            Credit One Bank, NA
            PO Box 98875                                             As of the date you file, the claim is: Check all that apply
            Las Vegas, NV 89193                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              2015 Ford F-150              $ $24,556.00
            Ford Motor Credit
            PO Box 542000                                            As of the date you file, the claim is: Check all that apply
            Omaha, NE 68154                                                  Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $49,556.00
                                                                                    Value of security:                               - $ $25,000.00
            Contact phone                                                           Unsecured claim                                    $ $24,556.00


 9                                                                   What is the nature of the claim?              credit card                  $ $823.00
            FSB Blaze
            5501 S. Broadband Lane                                   As of the date you file, the claim is: Check all that apply
            Sioux Falls, SD 57108                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              2015 income taxes            $ $7,637.00
            Georgia Department of Revenue
            Bankrkuptcy Section


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
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 Debtor 1          Christopher David Polk                                                           Case number (if known)

            1800 Century Boulevard, NE,                              As of the date you file, the claim is: Check all that apply
            Suite 17200                                                      Contingent
            Atlanta, GA 30345                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              2015 income taxes            $ $1,000,000.00
            Internal Revenue Service
            Centralized Insolvency                                   As of the date you file, the claim is: Check all that apply
            Operations                                                       Contingent
            PO Box 7346                                                      Unliquidated
            Philadelphia, PA 19101-7346                                      Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?                                           $ $100,000.00
            Jill Polk
            1590 Alvecote Court                                      As of the date you file, the claim is: Check all that apply
            Cumming, GA 30041                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              back child support           $ $25,000.00
                                                                                                                   and attorney's fees
            Jill Polk
            1590 Alvecote Court                                      As of the date you file, the claim is: Check all that apply
            Cumming, GA 30041                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 4

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 Debtor 1          Christopher David Polk                                                           Case number (if known)

                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              credit card                  $ $1,139.00
            Merrick Bank
            c/o Resurgent Cap.                                       As of the date you file, the claim is: Check all that apply
            PO Box 10368                                                     Contingent
            Greenville, SC 29603-0368                                        Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?                                           $ $276.00
            Midland Funding, LLC
            PO Box 2011                                              As of the date you file, the claim is: Check all that apply
            Warren, MI 48090                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              guaranty of a student        $ $3,459.75
                                                                                                                   loan for a friend
                                                                                                                   (co-signer). Liability
                                                                                                                   is contingent and
                                                                                                                   friend will pay loan.
            Navient CFC
            c/o Navient Solutions, Inc.                              As of the date you file, the claim is: Check all that apply
            PO Box 9640                                                      Contingent
            Wilkes Barre, PA 18773-9640                                       Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?                                           $ $6,810.00
            Rise
            4150 International Plaza                                 As of the date you file, the claim is: Check all that apply
            Fort Worth, TX 76109                                             Contingent


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 5

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 Debtor 1          Christopher David Polk                                                           Case number (if known)

                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              deficiancy after              $ $584.00
                                                                                                                   repossession
            Wells Fargo Bank
            d/b/a Wells Fargo Dealer                                 As of the date you file, the claim is: Check all that apply
            Services                                                         Contingent
            PO Box 19657                                                     Unliquidated
            Irvine, CA 92623-9657                                            Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?              judgment                      $ $7,763.00
            Woods Scrubbing Bubbles, Inc.
            d/b/a Servpro of Athens                                  As of the date you file, the claim is: Check all that apply
            c/o Horne Law Firm, PC                                           Contingent
            4385 Kimball Bridge Road, Suite                                  Unliquidated
            100                                                              Disputed
            Alpharetta, GA 30022                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $7,763.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $7,763.00


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Christopher David Polk                                                       X
       Christopher David Polk                                                               Signature of Debtor 2
       Signature of Debtor 1


       Date      August 30, 2018                                                            Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 6

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                                                               United States Bankruptcy Court
                                                                     Middle District of Georgia
 In re      Christopher David Polk                                                                 Case No.
                                                                                 Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: August 30, 2018                                                /s/ Christopher David Polk
                                                                      Christopher David Polk
                                                                      Signature of Debtor




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                      AgForest, LLC
                      2941 Lake Oconee Parkway
                      Greensboro, GA 30642

                      Ally Financial
                      200 Renaissance Center
                      Detroit, MI 48243

                      Anthony Mauriello
                      Maurielle Enterprise
                      16 Driggs Street
                      Staten Island, NY 10308

                      Bank South
                      PO Box 1499
                      Watkinsville, GA 30677

                      CCS/Bryant State Bank
                      500 E. 60th Street, North
                      Sioux Falls, SD 57104

                      Chase Mortgage
                      PO Box 15153
                      Des Moines, IA 19668-5153

                      Colonial Funding Network, Inc.
                      Servicing Provider for
                      c/o Jennifer Bolland
                      1501 Broadway, Suite 1515
                      New York, NY 10036

                      Credit One Bank, NA
                      PO Box 98875
                      Las Vegas, NV 89193

                      Dish Network
                      PO Box 105169
                      Atlanta, GA 30348-5169

                      Ford Motor Credit
                      PO Box 542000
                      Omaha, NE 68154

                      FSB Blaze
                      5501 S. Broadband Lane
                      Sioux Falls, SD 57108

                      Georgia Department of Revenue
                      Bankrkuptcy Section
                      1800 Century Boulevard, NE, Suite 17200
                      Atlanta, GA 30345

                      Internal Revenue Service
                      PO Box 7346
                      Philadelphia, PA 19101
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                  Internal Revenue Service
                  Centralized Insolvency Operations
                  PO Box 7346
                  Philadelphia, PA 19101-7346

                  Jennifer Toomey
                  1651 Lighthouse Circle
                  Greensboro, GA 30642

                  Jill Polk
                  1590 Alvecote Court
                  Cumming, GA 30041

                  Merrick Bank
                  c/o Resurgent Cap.
                  PO Box 10368
                  Greenville, SC 29603-0368

                  Midland Funding, LLC
                  PO Box 2011
                  Warren, MI 48090

                  Navient CFC
                  c/o Navient Solutions, Inc.
                  PO Box 9640
                  Wilkes Barre, PA 18773-9640

                  Rise
                  4150 International Plaza
                  Fort Worth, TX 76109

                  Sheffied Financial Co.
                  2554 Lewisville
                  Clemmons, NC 27012

                  Tech Tower Prop., LLC
                  c/o Marcadis Singer, PA
                  5104 S. Westshore Blvd.
                  Tampa, FL 33611

                  Verizon
                  PO Box 4001
                  Acworth, GA 30101

                  Wells Fargo Bank
                  d/b/a Wells Fargo Dealer Services
                  PO Box 19657
                  Irvine, CA 92623-9657

                  Woods Scrubbing Bubbles, Inc.
                  d/b/a Servpro of Athens
                  c/o Horne Law Firm, PC
                  4385 Kimball Bridge Road, Suite 100
                  Alpharetta, GA 30022
